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                            UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA
                                                         Case No. 3:17-cr-240

            v.
                                                         ORDER ON MOTION FOR
   JEFFREY OLSON                                         SENTENCE REDUCTION UNDER
           Defendant                                     18 U.S.C. §3582(c)(1)(A)
                                                         (COMPASSIONATE RELEASE)

       Upon motion of the defendant for a reduction in sentence under 18 U.S.C. §3582(c)(1)(A),

(Doc. 118), and addendum, (Doc. 129), and after considering the applicable factors provided in 18

U.S.C. §3553(a) and the applicable policy statements issued by the Sentencing Commission, IT

IS ORDERED that the motion is:

       ☐      GRANTED

       ☐      The defendant’s previously imposed sentence of imprisonment of __________

              is reduced to ____________________________. If this sentence is less than the

              amount of time the defendant already served, the sentence is reduced to a time

              served; or

       ☐      Time served.

       If the defendant’s sentence is reduced to time served:

        ☐     This order is stayed for up to fourteen days, for the verification of the defendant’s

              residence and/or establishment of a release plan, to make appropriate travel

              arrangements, and to ensure the defendant’s safe release. The defendant shall be

              released as soon as a residence is verified, a release plan is established, appropriate

              travel arrangements are made, and it is safe for the defendant to travel. There shall
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    be no delay in ensuring travel arrangements are made. If more than fourteen days

    are needed to make appropriate travel arrangements and ensure the defendant’s safe

    release, the parties shall immediately notify the court and show cause why the stay

    should be extended, or

☐   There being a verified residence and an appropriate release plan in place, this order

    is stayed for up to fourteen days to make appropriate travel arrangements and to

    ensure the defendant’s safe release. The defendant shall be released as soon as

    appropriate travel arrangements are made and it is safe for the defendant to travel.

    There shall be no delay in ensuring travel arrangements are made. If more than

    fourteen days are needed to make appropriate travel arrangements and ensure the

    defendant’s safe release, then the parties shall immediately notify the court and

    show cause why the stay should be extended.

☐   The defendant must provide the complete address where the defendant will reside

    upon release to the probation office in the district where they will be released

    because it was not included in the motion for sentence reduction.

☐   Under 18 U.S.C. §3582(c)(1)(A), the defendant is ordered to serve a “special

    term” of ☐ probation or ☐ supervised release of ___ months (not to exceed the

    unserved portion of the original term of imprisonment).

☐   The defendant’s previously imposed conditions of supervised release apply to the

    “special term” of supervision; or

☐   The conditions of the “special term” of supervision are as follows:

☐   The defendant’s previously imposed conditions of supervised release are

    unchanged.


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☐       The defendant’s previously imposed conditions of supervised release are modified

        as follows:




☐       DEFERRED pending supplemental briefing and/or a hearing. The court

        DIRECTS the United States Attorney to file a response on or before

        _______________, along with all Bureau of Prisons records (medical,

        institutional, administrative) relevant to this motion.


X       DENIED after complete review of the motion on the merits.

X       FACTORS CONSIDERED (Optional)

        After Olson pled guilty to wire fraud under 18 U.S.C. §1343, bank fraud under 18
        U.S.C. §1344, and one count of attempted bank fraud under 18 U.S.C. §§1344 and
        1349, on March 26, 2019, the court imposed a 120-month concurrent prison
        sentence on him, followed by three years of supervised release. (Doc. 92). Since
        the underlying facts of Olson’s arrest and conviction as well as the background in
        this case are detailed in the government’s brief, (Doc. 122 at 3), in the court’s
        January 30, 2019 Memorandum denying Olson’s motion to withdraw his guilty
        plea, (Doc. 72), and in the Third Circuit’s April 3, 2020 Opinion, (Doc. 100-1),
        regarding Olson’s appeal, they are not repeated herein. Suffice to say that Olson,
        an inmate confined at FCI Schuylkill Camp, Minersville, Pennsylvania, filed his
        second Motion for Compassionate Release under 18 U.S.C. §3582(c)(1)(A),
        requesting his immediate transfer from prison to home confinement due to his
        medical conditions and the COVID-19 pandemic. Olson has now exhausted his
        BOP administrative remedies. The court has considered the filings of the parties
        regarding Olson’s instant motion, (Doc. 118), including the briefs and exhibits as
        well as defendant’s letters to the court.

        First, the defendant has plausibly shown extraordinary and compelling reasons for
        compassionate release. Olson is currently 59 years and 11 months old. Olson
        alleges that he has hypertension, neurologic conditions, atrial fibrillation,
        cardiomyopathy, coronary artery disease, a kidney issue, and growths on his
        adrenal gland and thyroid as well as obesity (BMI 36.2), and that these conditions
        render him susceptible to suffer serious complications or death if he contracts the


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    Covid-19 virus. Olson’s BOP medical records show that he has been diagnosed
    with the stated conditions. Also, “[c]onsidering his age and multiplicity of health
    concerns, in particular his chronic heart disease, high blood pressure, obesity, …,
    the Court finds that [Olson’s] condition qualifies as an extraordinary or
    compelling reason for release during the COVID-19 pandemic.” U.S. v. Mainor,
    2021 WL 183309, *2 (E.D. Pa. Jan. 19, 2021). “The [CDC] has identified heart
    disease, being a current or former smoker, and obesity as underlying medical
    conditions that place a person at an increased risk of severe illness in the event of
    a COVID-19 infection.” Id. (citing People Who Are At Higher Risk, Ctrs. for
    Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
    ncov/need-extra-precautions/people-at-higher-risk.html). Further, “[t]he CDC …
    suggests that having high blood pressure might increase the risk of severe illness
    from COVID-19” particularly, in the 50-64-year-old age bracket. Id. Additionally,
    there are currently 267 inmate positive COVID-19 cases at the prison and 9 staff
    positive cases, and 247 inmates and 31 staff have recovered from the virus. Olson
    also alleges that on December 23, 2020, the prison camp was closed after 67% of
    the inmates tested positive for the virus, and he states that the inmates were
    transferred to prison’s medium facility. In his addendum, Olson states that the
    prison has had another “massive outbreak” of COVID-19 and that the prison is not
    taking proper steps to contain the virus. He also admits that the prison has started
    to give the vaccine to some inmates, but he contends that he cannot take the
    vaccine due to his allergies to most medications. Nonetheless, Olson does not
    allege that he has contracted the virus.

    Even though Olson has plausibly met his burden by demonstrating extraordinary
    and compelling reasons for his release, based on his medical conditions
    considered in combination, see Mainor, supra, in analyzing the applicable factors
    set forth in 18 U.S.C. §3553(a), they weigh against immediately releasing him
    from prison to serve the remainder of his sentence on home confinement. The
    court recognizes that Olson has no disciplinary actions filed against him during his
    42 months of imprisonment, that he has taken several classes in prison, and that he
    has a full time job. However, Olson has not yet served 50% of his sentence.
    Olson’s advisory guidelines range was 110 to 137 months’ imprisonment, PSR
    ¶78, and he received a sentence on the lower end of the range. Olson’s projected
    release date from prison is not until October 20, 2026. Also, considering the
    seriousness of Olson’s underlying fraud convictions, his ability to care for himself
    in the prison, (Doc. 122, Ex. A), and the ability of FCI Schuylkill to provide
    treatment for defendant’s medical conditions, as reflected in his extensive medical
    records, (Doc. 124), and the fact that Olson has tested negative for COVID-19 on
    two occasions, (Doc. 124-1 at 18), his request for compassionate release will be
    denied.

    Initially, as the government indicates, Dr. Mace-Leibson, D.O., performed a
    medical review of Olson when he submitted a request to the warden and “opined




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                that Olson was healthy upon physical examination, with a good prognosis.” (Doc.
                122 at 2) (citing Doc. 124, at 1-5).

                As the government summarizes, (Doc. 122 at 18-19), in its opposition brief:

                       Olson has served approximately three years of his ten-year sentence. The
                       nature and circumstances of his offense and Olson’s long history of
                       fraudulent acts demonstrate the need for Olson to remain incarcerated for
                       the full term of his sentence. Although the crimes were not violent and did
                       not cause physical injury to the victims, the financial and emotional injury
                       that Olson caused and has repeatedly and unremorsefully caused in the
                       past is immeasurable. This is the third time Olson preyed on trusting
                       victims in order to unlawfully obtain money for his own personal use.
                       Olson had recently been released to supervision when he initiated this
                       criminal scheme.

                       Importantly, this was not the first time Olson was on federal supervised
                       release when he committed a scheme to defraud. In 2011, Olson was
                       convicted of wire fraud while on federal supervised release for a prior
                       fraud and tax evasion conviction. PSR ¶¶50-51. Olson has repeatedly
                       demonstrated a lack of respect for the law.

                The court finds that defendant Olson still poses a danger to the safety of the
                community based on the serious nature of his current fraud convictions as well as
                his criminal history. Even though Olson shows some signs of remorse in his
                instant filings, the court denies his motion based on the need for this defendant to
                serve additional prison time to deter him from continuing his criminal conduct
                based upon his “criminal history that includes multiple convictions for fraud while
                on supervised release.”


        ☐       DENIED WITHOUT PREJUDICE because the defendant has not exhausted

                all administrative remedies as required in 18 U.S.C. §3582(c)(1)(A), nor have

                30 days lapsed since receipt of the defendant’s request by the warden of the

                defendant’s facility.

                                                  s   / Malachy E. Mannion
                                                             Malachy E. Mannion,
                                                            U.S. DISTRICT JUDGE
Dated: March 1, 2021
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